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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION


CASA del GANADERO, S. de R.L.,            )
                                          )
            Plaintiff,                    )
                                          )
      vs.                                 )       Case No. 4:09CV953 CDP
                                          )
MONSANTO COMPANY, et al.,                 )
                                          )
            Defendants.                   )


                                     ORDER


      For reasons stipulated by the parties,

      IT IS HEREBY ORDERED that plaintiff’s motion [#11] to dismiss for

lack of jurisdiction is GRANTED, and this case is dismissed without prejudice.




                                          CATHERINE D. PERRY
                                          UNITED STATES DISTRICT JUDGE

Dated this 10th day of August, 2009.
